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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
IN RE GRAND JURY SUBPOENA DATED                                        :    24-MC-104 (JMF)
FEBRUARY 23, 2024                                                      :
                                                                       :         ORDER
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        On March 8, 2024, the Government filed a motion to compel compliance with a grand

jury subpoena dated February 23, 2024 (the “Subpoena”), and, because it concerned a grand jury

matter, requested leave for the motion to be sealed. See Fed. R. Crim. P. 6(e). 1 By Order dated

March 8, 2024, the Court granted the request to seal the motion (and two exhibits to the motion)

and directed that, unless and until the Court ordered otherwise, all future filings, including any

opposition to the motion by the recipient of the Subpoena (which the Court will call “ABC

Corporation”), be filed under seal. On March 8, 2024, ABC Corporation filed a letter indicating

that it intended to file a formal response to the Government’s motion, which it did on March 18,

2024. The Government then filed a reply on March 19, 2024. In an Opinion and Order dated

March 26, 2024, the Court granted the Government’s motion to compel. The same day, the

Court issued an Order directing the Government to show cause by April 2, 2024, why the filings

in this case, including the Court’s Opinion and Order, should not be filed publicly in redacted

form (and, if appropriate, proposing redactions).

        Upon reflection, and in light of the presumption in favor of public access to judicial

documents and proceedings, see, e.g., Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-

20 (2d Cir. 2006), the Court concludes that there is no reason for this case to be sealed in its




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        The undersigned was sitting in Part I when the motion was filed, but retained jurisdiction
to resolve the motion.
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entirety; instead, it is sufficient for individual filings to be sealed or redacted, as appropriate.

Accordingly, the Clerk of Court is directed to:

    (1) unseal the case and change the docket to reflect the caption above;

    (2) list two parties to the case: the United States of America, as Movant, and ABC
        Corporation, as Respondent; and

    (3) docket the Court’s Order of March 8, 2024; Opinion and Order of March 26, 2024; and
        Order to Show Cause of March 26, 2024, under seal — that is, with viewing restricted
        (unless and until the Court orders otherwise) to the Court and the parties.

        No later than March 28, 2024, counsel for the United States and ABC Corporation shall:

    (1) enter notices of appearance on the docket; 2 and

    (2) file all of their submissions to date (referenced above), with viewing restricted to the
        Court and the parties. 3

        SO ORDERED.

Dated: March 27, 2024                                   __________________________________
       New York, New York                                        JESSE M. FURMAN
                                                              United States District Judge




2
        The Court notes that notices of appearance are public. Counsel to ABC Corporation are
therefore granted leave — in fact, ordered — to refer to their client as ABC Corporation rather
than by its true name.
3
       On March 18, 2024, an attorney for ABC Corporation filed a motion for admission pro
hac vice. That motion was later withdrawn when it became clear that it would take too long for
counsel to obtain the required documentation. In light of that withdrawal, ABC Corporation
need not file the pro hac vice papers on the docket.

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